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   11   Erica and Joseph Vago
   12                               UNITED STATES BANKRUPTCY COURT
   13                               CENTRAL DISTRICT OF CALIFORNIA
   14                                     LOS ANGELES DIVISION

   15
        In re                                                 Case No. 2:23-bk-10990-SK
   16
        LESLIE KLEIN,                                         Chapter 11
   17
                      Debtor.                                 Adv. Case No.
   18
   19                                                         COMPLAINT TO DETERMINE THE
        ERICA VAGO and JOSEPH VAGO,                           NONDISCHARGEABILITY OF CERTAIN
   20
                                                              DEBTS OWED BY DEBTOR LESLIE
                      Plaintiffs,
   21                                                         KLEIN TO ERICA AND JOSEPH VAGO
                vs.                                           PURSUANT TO 11 U.S.C. § 523 AND TO
   22                                                         DENY DISCHARGE PURSUANT TO
        LESLIE KLEIN and DOES 1 through 10,                   SECTION 727(A)(12)
   23
                      Defendants.
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    1          Plaintiffs Erica (“Erica”) and Joseph Vago (“Joseph”) (collectively, the “Vagos”), allege as
    2   follows on personal knowledge:
    3                                           Nature of the Case
    4          1.      Defendant and Debtor Leslie Klein (“Defendant” or “Debtor”) stole more than $8
    5   million from Erica in a complicated life insurance scam.
    6          2.      Defendant was the Vagos’ friend for more than 40 years. Defendant preyed on the
    7   Vagos during a time of vulnerability and desperation. Defendant convinced the Vagos to entrust
    8   him with Erica’s $15 million inheritance. Defendant claimed he would act as the Vagos’ lawyer,
    9   accountant and investment adviser.
   10          3.      In truth, Defendant is a con man who systematically embezzled the Vagos’ money
   11   and lied to them every step of the way. Defendant created false financial statements. Defendant
   12   misrepresented the nature of the Vagos’ “investments.” Defendant talked in circles and provided
   13   documents that were designed to confuse. Defendant sold insurance policies without telling the
   14   Vagos. Defendant fabricated meetings that never happened. Defendant made himself the trustee
   15   over life insurance trusts that purportedly held the Vagos’ money.
   16          4.      In the end, Erica’s money simply vanished. Defendant forced the Vagos to take
   17   their case to trial. Defendant attempted to derail the litigation at every possible moment.
   18   Defendant refused to participate in discovery. The trial court sanctioned Defendant on multiple
   19   occasions. At trial, Defendant—who was a CPA for decades—could not account for what
   20   happened to $8 million in Erica’s inheritance. On cross-examination, Defendant admitted that he
   21   had no intention of ever giving Erica a return on her money. This was a scam from start to finish.
   22          5.      The jury ultimately returned a verdict holding Defendant liable for intentional
   23   fraud, fraudulent concealment, breach of fiduciary duty and elder abuse. The jury awarded more
   24   than $8 million in punitive damages. And the trial court entered judgment in the amount of $24.3
   25   million.
   26          6.      This debt is not dischargeable in bankruptcy. The Vagos’ judgment emanates from
   27   a widespread, deliberate and calculated fraud on the part of Defendant.
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    1                                         Jurisdiction and Venue
    2           7.     On February 22, 2023 (the “Petition Date”), Defendant filed a voluntary Chapter 11
    3   bankruptcy petition in the United States Bankruptcy Court, Central District of California, Los
    4   Angeles Division.
    5           8.     This action is a civil proceeding arising in the above-captioned chapter 11
    6   bankruptcy case, which is now pending in this judicial district, and arising under, and arising in
    7   and related to title 11 of the United States Code.
    8           9.     This Court has jurisdiction pursuant to 28 U.S.C. § 1334(b) and 28 U.S.C. §
    9   157(b)(2)(J) to hear and determine this proceeding and to enter an appropriate final order and
   10   judgment.
   11           10.    This matter is a core proceeding pursuant to 28 U.S.C. § 157.
   12           11.    Venue is proper in this judicial district pursuant to 28 U.S.C. § 1409.
   13                                                The Parties
   14           12.    The Vagos are judgment creditors in the above-captioned Chapter 11 bankruptcy
   15   case.
   16           13.    Defendant is the debtor in the above-captioned Chapter 11 bankruptcy case.
   17                                           General Allegations
   18           A.     The Friendship
   19           14.    Joseph first met Defendant in 1970. They are both Orthodox Jews and they were
   20   members of the same temple.
   21           15.    Over the years, the Vagos and Defendant interacted at family and religious events,
   22   including birthdays, holidays, shabbat dinners, bar mitzvahs, and weddings. Defendant and the
   23   Vagos were friends.
   24           B.     Legal Services
   25           16.    In June 2012, Erica’s uncle died. In October 2012, Erica’s brother died. A few
   26   months later, in July 2013, Erica’s mother died. Erica and Joseph had to deal with three lost loved
   27   ones in short succession.
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    1          17.     Erica’s brother, Robert Schweitzer (“Schweitzer”), died on October 3, 2012.
    2   Schweitzer willed the bulk of his estate to Erica. Schweitzer’s estate included roughly $18 million
    3   in a foreign bank account.
    4          18.     A few days following Schweitzer’s death, the Vagos were at their home mourning
    5   the loss of Schweitzer. Defendant went to the Vagos to pay his respects. At that time, Defendant
    6   also offered his services as a lawyer and accountant. Defendant said he could handle any issues
    7   that might come up with Schweitzer’s estate. The Vagos ultimately agreed to retain their longtime
    8   friend. The Vagos and Defendant arranged to meet the following week.
    9          C.      The Life Insurance Policies
   10          19.     About a week later, the Vagos and Defendant met to discuss Schweitzer’s estate.
   11   Erica learned before the meeting that Schweitzer had left her more than $18 million, located in a
   12   foreign bank account. The Vagos did not know how to handle the will, probate, inheritance,
   13   foreign bank accounts, and estate taxes. At the meeting, Erica told Defendant about the
   14   inheritance.
   15          20.     Defendant said this issue was his “specialty.” Defendant told Erica that he was a
   16   jack-of-all-trades—he was a lawyer, CPA, and financial adviser. Defendant told Erica he could
   17   deal with the will. Defendant told Erica he could prepare the estate tax returns. Defendant told
   18   Erica he could figure out the best way to repatriate the money from the foreign bank account.
   19   Defendant told Erica he could even set up investments for the money once the Vagos received it.
   20          21.     The Vagos agreed to let Defendant guide them through this unfamiliar territory.
   21   Erica wrote Defendant a $7,000 check that day for the legal services he promised to provide
   22   through his law firm Leslie Klein & Associates (“LK&A”).
   23          22.     Defendant also recommended that the Vagos invest the inheritance in life insurance
   24   policies. Defendant explained the safety and benefits of this strategy. Defendant said that each
   25   investment would garner 10 to 12% interest each year, plus a premium on the principal in some
   26   cases, all to be paid when the Vagos cashed out. And Defendant emphasized how simple cashing
   27   out would be. Defendant advised that investments in these policies were “just like cash.”
   28   Defendant promised the Vagos they could “sell them for cash any time [they] wanted.”

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    1          23.     Defendant added that the best way to effect the transaction would be to wire the
    2   money to the LK&A client trust account. Defendant would then invest the money from the
    3   LK&A client trust account into life insurance policies. When the Vagos mentioned they wanted to
    4   donate substantial sums to charity, Defendant suggested they wire the money to the EKLK
    5   Foundation, which Defendant set up and controlled. Defendant said the EKLK Foundation would
    6   then distribute funds to charities the Vagos chose.
    7          24.     Finally, Defendant said that if the Vagos wanted cash from Erica’s inheritance for
    8   themselves, they should ask him for it. He would write them a check from the LK&A client trust
    9   account.
   10          25.     Defendant reassured the Vagos that the strategy was sound. Defendant said he
   11   performed the same transactions for “all my clients” as well as his family. Defendant told the
   12   Vagos that he invested his own money in the life insurance policies. Defendant added that
   13   prominent tax attorneys and accountants “in Century City” confirmed to him that this was a safe
   14   and proper strategy. Defendant claimed to have invested in life insurance policies for several
   15   prominent members of the Jewish community.
   16          D.      The Scam
   17          26.     Over the next four years, Erica arranged more than $15 million in wire transfers
   18   from the foreign bank account holding her inheritance. Erica made each transfer at Defendant’s
   19   direction and to accounts Defendant controlled.
   20          27.     About $12.4 million went to the LK&A client trust account, and the rest went to
   21   Defendant’s EKLK Foundation.
   22          28.     As the money came in, Defendant represented to the Vagos that he was executing
   23   the investment strategy he had convinced them to follow. Defendant told the Vagos he was
   24   investing much of Erica’s inheritance in life insurance policies.
   25          29.     The life insurance “investments” were not really investments; they were non-
   26   recourse loans to irrevocable life insurance trusts. Each life insurance trust purportedly contained
   27   a life insurance policy or policies—on the life of a complete stranger to the Vagos—which served
   28   as the sole security for the Vagos’ loan. The principal and interest on each loan were not due until

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    1   the death of the policyholder. For Erica and Joseph—who were respectively 59 and 61 when
    2   Schweitzer passed—this term rendered the loans almost valueless. They did not know when—if
    3   ever—the loans would become due.
    4           30.     The Vagos did not know the identities of the other “investors” in each life
    5   insurance trust. The Vagos did not know how much money Defendant received from other
    6   “investors.” The Vagos had no way to independently verify whether Defendant was paying the
    7   premiums on the insurance policies. The Vagos had no way to determine whether the insureds
    8   were alive or not. The Vagos could not find out whether any insurance companies had paid
    9   Defendant money in connection with the policies they “invested” in. The Vagos had no way to
   10   know whether Defendant sold the policies they thought they invested in. The Vagos were
   11   completely in the dark and at the mercy of Defendant.
   12           31.     The Vagos’ names were nowhere to be found on the promissory notes or on the life
   13   insurance policies. Rather, the promissory notes were executed for the benefit of the “Estate of
   14   Robert Schweitzer.” It could not be more evident that Defendant structured these “investments” in
   15   a manner designed to confuse and deceive the Vagos. Defendant knew that these “investments”
   16   were never going to pay out.
   17           32.     Though these promissory notes were nearly worthless to the Vagos, by Defendant’s
   18   doing, they still had a huge carrying cost. To keep the underlying life insurance policies from
   19   lapsing, Defendant told the Vagos that they would have to pay hundreds of thousands of dollars
   20   per year toward insurance premiums. This money was in addition to the millions already loaned
   21   to the life insurance policy trusts.
   22           33.     By 2019, Defendant claimed to have “invested” $8.3 million of the Vagos’ money
   23   in life insurance policies.
   24           E.      The Misrepresentations
   25           34.     Defendant routinely visited the Vagos at their house. During these visits,
   26   Defendant would give the Vagos a memo on the letterhead of LK&A that purported to show the
   27   status of their “investments.” In a July 1, 2017 memorandum, Defendant stated that the Vagos’
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    1   “investment” had increased in value to $9.4 million. And the memorandum indicated that the
    2   Vagos were entitled to $3,205,000 in interest since their initial “investment” in 2012.
    3          35.     Defendant provided a memorandum in 2018 that indicated the Vagos’
    4   “investments” were worth $10.2 million and the interest was $3,685,000. These written
    5   memoranda were all lies.
    6          F.      The Vagos Discover Defendant’s Fraud
    7          36.     On or around September 15, 2019, Defendant went to the Vagos’ home for their
    8   regular meeting. At this meeting, Erica told Defendant she needed to cash out roughly $1 million.
    9   Defendant responded that the “interest” that had accrued on the Vagos’ investment was all gone.
   10   Defendant falsely stated that “hedge funds are not paying interest anymore” on life insurance
   11   policies, so their earnings over the past seven years had vanished.
   12          37.     The Vagos demanded that Defendant refund their money. Defendant refused.
   13          G.      The State Board of Accountancy
   14          38.     At the same time Defendant was defrauding the Vagos, he was accused of stealing
   15   money from his client Hubert Scott (“Scott”). The California State Board of Accountancy (the
   16   “State Board”) brought charges against Defendant in 2019.
   17          39.     The State Board alleged that Scott inherited money when his brother and son died.
   18   Defendant purported to serve as Scott’s tax preparer, financial planner and investment adviser.
   19   Scott, at that time, was 86 years old and had dementia. Defendant had himself appointed as the
   20   trustee of Scott’s trust agreement. Over the course of five years, Scott gave Defendant $2.42
   21   million.
   22          40.     Defendant purported to “invest” Scott’s money in non-recourse promissory notes
   23   with irrevocable life insurance trusts (i.e., the exact same investments that are at issue here).
   24   Defendant invested 85% of Scott’s money in these life insurance trusts. Even though Scott was 86
   25   years old, he would only be paid out when the insured passed away. Defendant also invested
   26   Scott’s money in companies with which Defendant was affiliated. Among others, Defendant
   27   purportedly invested $750,000 of Scott’s money in LEDs sold by Time Square Media, Inc. (“Time
   28   Square Media”). Defendant was the president of Time Square Media. This $750,000 investment

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    1   purportedly made by Defendant was not reflected in any accounting. The State Board noted that
    2   none of the transactions were made in Scott’s name. Instead, Defendant admitted that he did not
    3   invest the money in life insurance policies on behalf of his clients, but that he actually borrowed
    4   the money himself from his clients.
    5          41.     The State Board alleged that Defendant failed to provide an accounting, and instead
    6   periodically provided documents showing inflated values that were inaccurate on their face.
    7   Defendant ultimately denied that he was Scott’s tax preparer or adviser.
    8          42.     A conservator was appointed in 2016, and Defendant was removed as trustee. The
    9   State Board filed the Accusation in 2019, based on allegations of fraud, breach of fiduciary duty,
   10   embezzlement, commingling funds and undue influence. Defendant entered into a stipulation with
   11   the State Board that resulted in the surrender of his accounting license.
   12          H.      The Litigation and Defendant’s Failure to Comply with Court Orders
   13          43.     The Vagos filed a state court complaint against Defendant on July 1, 2020. From
   14   day one, Defendant and LK&A engaged in a scheme to evade discovery and to derail the case.
   15          44.     Defendant served boilerplate objections to all written discovery requests and
   16   refused to provide substantive responses. Defendant refused to produce documents. The Vagos
   17   then filed several rounds of discovery motions. The Court granted all of them and entered
   18   monetary and issue sanctions against Defendant. The Court ordered Defendant to produce a
   19   responsivity chart and a privilege log. Defendant did not. The Court ordered Defendant to
   20   produce bank records. Defendant did not. Defendant filed a motion to quash a third-party
   21   subpoena served on Bank of America, which he lost. Defendant failed to pay the court-ordered
   22   monetary sanctions by the deadline and failed to comply with court orders requiring supplemental
   23   responses. Defendant even walked out of a court ordered deposition. Defendant stalled and
   24   refused to make himself available for deposition. Defendant substituted new counsel on the eve of
   25   trial. Defendant filed numerous motions to continue the trial date, all of which were denied
   26          I.      The Trial, Jury Verdict and Judgment
   27          45.     On August 29, 2022, the trial in the Vagos’ state court matter commenced.
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    1          46.     At trial, the Vagos presented evidence that Defendant sought out to defraud them
    2   when they were at their most vulnerable—just after Erica’s brother died and while she was caring
    3   for her dying mother in the hospital. Defendant initially testified that he had no financial interest
    4   in the policies that he purportedly invested the Vagos’ money in. But Defendant later admitted
    5   that he invested his own money in these same policies.
    6          47.     Defendant drafted and signed promissory notes where he agreed as trustee that the
    7   Vagos would be entitled to 12% interest on their money. But Defendant testified at trial that he
    8   never had any intention of actually paying the Vagos that interest. Defendant utterly failed to
    9   explain what these “investments” actually were; whether the Vagos were entitled to make any
   10   money from his perspective; or what he did with the Vagos’ money.
   11          48.     Defendant testified at trial that he kept a contemporaneous “ledger” of all
   12   transactions relating to the Vagos. This was a lie—no such ledger was produced at trial.
   13   Defendant admitted that he provided false and inflated financials to the Vagos on a regular basis.
   14   Defendant took out a life insurance policy on an individual named Ann Radow. Ann Radow
   15   testified at trial that she had never met Defendant; that he took out an insurance policy on her life
   16   without her knowledge or consent; and that Defendant created the Ann Radow Trust and made
   17   himself the trustee without her knowledge or consent.
   18          49.     Unbeknownst to the Vagos, Defendant surrendered his license to practice
   19   accounting after he was accused of embezzling money from Scott, an 86-year-old client with
   20   dementia. The State Board disciplined Defendant at the same time he was defrauding the Vagos.
   21          50.     The jury ultimately found that Erica had proven her case against Defendant for
   22   intentional fraud, fraudulent concealment, financial elder abuse and breach of fiduciary duty. The
   23   jury awarded Erica $8.3 million in compensatory damages, plus $8.3 million more in punitive
   24   damages. And the jury awarded Joseph an additional $400,000 in emotional distress damages.
   25   The Court then awarded $7,334,038.99 in prejudgment interest and entered judgment in the
   26   amount of $24,334,038.99 (“Judgment”). A true and correct copy of the Judgment is attached as
   27   Exhibit 1.
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    1                                     FIRST CLAIM FOR RELIEF
    2                       (Nondischargeability of Debt - 11 U.S.C. § 523(a)(2)(A))
    3          51.     The Vagos reallege and incorporate by reference all of the prior and subsequent
    4   allegations in this Complaint as though fully set forth herein.
    5          52.     At all relevant times, Defendant acted as the Vagos’ fiduciary. Defendant was their
    6   attorney, accountant and investment adviser. Erica entrusted Defendant implicitly with her entire
    7   inheritance (more than $15 million).
    8          53.     Defendant owed the Vagos fiduciary duties at all relevant times, including the duty
    9   of loyalty and candor. Defendant further owed a duty to use Erica’s funds for legitimate business
   10   purposes and to refrain from using her funds and other property for his own personal non-business
   11   purposes.
   12          54.     Defendant embezzled and stole from the Vagos. Defendant misrepresented
   13   information to the Vagos for the purpose of convincing Erica to deposit more than $12 million
   14   into the LK&A client trust account. Defendant then stole more than $8 million of Erica’s money
   15   in a complicated life insurance scam.
   16          55.     A jury found Defendant liable for intentional fraudulent, fraudulent concealment,
   17   breach of fiduciary duty and elder abuse as set forth in the Judgment. The jury awarded Erica $8.3
   18   million in punitive damages after finding that Defendant acted with fraud, oppression and malice.
   19   The trial court ultimately entered the Judgment against Defendant in the amount of $24.3 million.
   20          56.     Defendant’s misappropriation of Erica’s funds and other property was
   21   unauthorized, without her consent and fraudulent. Defendant acted with the intent to permanently
   22   deprive Erica of the possession, use and benefit of her funds and other property.
   23          57.     As a result of Defendant’s unauthorized and fraudulent misappropriation of Erica’s
   24   funds and other property and Defendant’s false pretenses, false representations, and actual fraud
   25   set forth herein, the Vagos have suffered damages in the amount of not less than $26,386,891.00.
   26          58.     Defendant’s debt to the Vagos is nondischargeable under 11 U.S.C. § 523(a)(2)
   27   because it was incurred as a result of false pretenses, false representations, and actual fraud.
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    1          59.     The damages arising from Defendant’s willful and malicious false pretenses, false
    2   representation and actual fraud to the Vagos constitutes a debt against Defendant that is non-
    3   dischargeable pursuant to 11 U.S.C. § 523(a)(2).
    4                                   SECOND CLAIM FOR RELIEF
    5                         (Nondischargeability of Debt - 11 U.S.C. § 523(a)(4))
    6          60.     The Vagos reallege and incorporate by reference all of the prior and subsequent
    7   allegations in this Complaint as though fully set forth herein.
    8          61.     At all relevant times, Defendant acted as the Vagos’ fiduciary. Defendant was their
    9   attorney, accountant and investment adviser. Erica entrusted Defendant implicitly with her entire
   10   inheritance (more than $15 million).
   11          62.     Defendant owed the Vagos fiduciary duties at all relevant times, including the duty
   12   of loyalty and candor. Defendant further owed a duty to use Erica’s funds for legitimate business
   13   purposes and to refrain from using her funds and other property for his own personal non-business
   14   purposes.
   15          63.     Defendant embezzled and stole from the Vagos. Defendant misrepresented
   16   information to the Vagos for the purpose of convincing Erica to deposit more than $12 million
   17   into the LK&A client trust account. Defendant then stole more than $8 million of Erica’s money
   18   in a complicated life insurance scam.
   19          64.     A jury found Defendant liable for intentional fraudulent, fraudulent concealment,
   20   breach of fiduciary duty and elder abuse as set forth in the Judgment. The jury awarded Erica $8.3
   21   million in punitive damages after finding that Defendant acted with fraud, oppression and malice.
   22   The trial court ultimately entered the Judgment against Defendant in the amount of $24.3 million.
   23          65.     Defendant’s misappropriation of Erica’s funds and other property was
   24   unauthorized, without her consent and fraudulent. Defendant acted with the intent to permanently
   25   deprive Erica of the possession, use and benefit of her funds and other property.
   26          66.     As a result of Defendant’s unauthorized and fraudulent misappropriation of Erica’s
   27   funds and other property while acting in a fiduciary capacity and Defendant’s false pretenses, false
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    1   representations, and actual fraud set forth herein while acting in a fiduciary capacity, the Vagos
    2   have suffered damages in the amount of not less than $26,386,891.00.
    3          67.     The damages to the Vagos arising from Defendant’s fraud, defalcation,
    4   embezzlement and larceny while acting in a fiduciary capacity constitutes a debt against
    5   Defendant that is non-dischargeable pursuant to 11 U.S.C. § 523(a)(4).
    6                                     THIRD CLAIM FOR RELIEF
    7                         (Nondischargeability of Debt - 11 U.S.C. § 523(a)(6))
    8          68.     The Vagos reallege and incorporate by reference all of the prior and subsequent
    9   allegations in this Complaint as though fully set forth herein.
   10          69.     At all relevant times, Defendant acted as the Vagos’ fiduciary. Defendant was their
   11   attorney, accountant and investment adviser. Erica entrusted Defendant implicitly with her entire
   12   inheritance (more than $15 million).
   13          70.     Defendant owed the Vagos fiduciary duties at all relevant times, including the duty
   14   of loyalty and candor. Defendant further owed a duty to use Erica’s funds for legitimate business
   15   purposes and to refrain from using her funds and other property for his own personal non-business
   16   purposes.
   17          71.     Defendant embezzled and stole from the Vagos. Defendant misrepresented
   18   information to the Vagos for the purpose of convincing Erica to deposit more than $12 million
   19   into the LK&A client trust account. Defendant then stole more than $8 million of Erica’s money
   20   in a complicated life insurance scam.
   21          72.     A jury found Defendant liable for intentional fraudulent, fraudulent concealment,
   22   breach of fiduciary duty and elder abuse as set forth in the Judgment. The jury awarded Erica $8.3
   23   million in punitive damages after finding that Defendant acted with fraud, oppression and malice.
   24   The trial court ultimately entered the Judgment against Defendant in the amount of $24.3 million.
   25          73.     Defendant’s misappropriation of Erica’s funds and other property was
   26   unauthorized, without her consent and fraudulent. Defendant acted with the intent to permanently
   27   deprive Erica of the possession, use and benefit of her funds and other property.
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    1          74.      As a result of Defendant’s unauthorized and fraudulent misappropriation of Erica’s
    2   funds and other property while acting in a fiduciary capacity and Defendant’s false pretenses, false
    3   representations, and actual fraud set forth herein while acting in a fiduciary capacity, the Vagos
    4   have suffered damages in the amount of not less than $26,386,891.00.
    5          75.      The damages arising from Defendant’s willful and malicious injury to the Vagos
    6   constitutes a debt against Defendant that is non-dischargeable pursuant to 11 U.S.C. § 523(a)(6).
    7                                   FOURTH CLAIM FOR RELIEF
    8                           (For Denial of Discharge - 11 U.S.C. § 727(a)(12))
    9          76.      The Vagos reallege and incorporate by reference all of the prior and subsequent
   10   allegations in this Complaint as though fully set forth herein.
   11          77.      Pursuant to 11 U.S.C. § 727(a)(12), the court shall grant the debtor a discharge
   12   unless- the court after notice and a hearing held not more than 10 days before the date of the entry
   13   of the order granting the discharge finds that there is reasonable cause to believe that—(A) section
   14   522(q)(1) may be applicable to the debtor; and (B) there is pending any proceeding in which the
   15   debtor may be found guilty of a felony of the kind described in section 522(q)(1)(A) or liable for a
   16   debt of the kind described in section 522(q)(1)(B).
   17          78.      On April 11, 2023, the Vagos filed a motion [Docket No. 71] seeking disallowance
   18   of Debtor’s claim of exemption in the real property located at 322 N. June Street, Los Angeles,
   19   CA 90004 (the “Property”) in any amount exceeding $189,050.00 pursuant to Section 522(q) of
   20   the Bankruptcy Code.
   21          79.      Section 522(q) operates to reduce any state law homestead exemption claim to
   22   $189,050.00 where debtor owes a debt arising from “fraud, deceit, or manipulation in a fiduciary
   23   capacity.” 11 U.S.C. § 522(q)(1)(B)(ii).
   24          80.      As set forth herein, Debtor owes a debt to the Vagos in an amount of not less than
   25   $26,386,891.00 based upon the Judgment which arose from “fraud, deceit, or manipulation in a
   26   fiduciary capacity.” 11 U.S.C. § 522(q)(1)(B)(ii).
   27          81.      Accordingly, Debtor is not entitled to a discharge of his debts pursuant to 11 U.S.C.
   28   § 727(a)(12).

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    1                                           Prayer for Relief
    2          WHEREFORE, Plaintiffs request judgment on the Complaint as follows:
    3          1.     On the First Claim for Relief, the Vagos seek an order determining that Defendant
    4   is indebted to the Vagos in an amount not less than $26,386,891.00 and that Defendant’s debt is
    5   excepted from discharge pursuant to 11 U.S.C. § 523(a)(2);
    6          2.     On the Second Claim for Relief, the Vagos seek an order determining that
    7   Defendant is indebted to the Vagos in an amount not less than $26,386,891.00 and that
    8   Defendant’s debt is excepted from discharge pursuant to 11 U.S.C. § 523(a)(4);
    9          3.     On the Third Claim for Relief, the Vagos seek an order determining that Defendant
   10   is indebted to the Vagos in an amount not less than $26,386,891.00 and that Defendant’s debt is
   11   excepted from discharge pursuant to 11 U.S.C. § 523(a)(6);
   12          4.     On the Fourth Claim for Relief, the Vagos seek an order denying Defendant his
   13   discharge pursuant to 11 U.S.C. § 727(a)(12);
   14          5.     For costs of suit incurred herein; and
   15          6.     For such other and further relief as the Court may deem appropriate.
   16                                                    Respectfully submitted,
   17   Dated: May 10, 2023                             GOE FORSYTHE & HODGES LLP
   18
   19                                               By: /s/Robert P. Goe
                                                        Robert P. Goe
   20
                                                        Attorneys for Plaintiffs Erica Vago and
   21                                                   Joseph Vago

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    1                              PROOF OF SERVICE OF DOCUMENT
    2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My
    3   business address is: 17701 Cowan, Bldg. D., Suite 210, Irvine, CA 92614

    4   A true and correct copy of the foregoing document entitled (specify): NOTICE OF MOTION
        AND MOTION FOR ORDER DISMISSING DEBTOR’S CHAPTER 11 BANKRUPTCY
    5   CASE; MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATIONS OF
        ERICA VAGO, BRIAN PROCEL; AND REQUEST FOR JUDICIAL NOTICE IN
    6   SUPPORT OF SAME will be served or was served (a) on the judge in chambers in the form
        and manner required by LBR 5005-2(d); and (b) in the manner stated below:
    7
        1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
    8   Pursuant to controlling General Orders and LBR, the foregoing document will be served by the
        court via NEF and hyperlink to the document. On (date) May 10, 2023, I checked the CM/ECF
    9
        docket for this bankruptcy case or adversary proceeding and determined that the following persons
   10   are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
        below:
   11
   12
                                                              Service information continued on attached
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   14
        2. SERVED BY UNITED STATES MAIL:
   15   On (date) May 10, 2023, I served the following persons and/or entities at the last known addresses
        in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
   16   sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows.
   17   Listing the judge here constitutes a declaration that mailing to the judge will be completed no later
        than 24 hours after the document is filed.
   18
                                                              Service information continued on attached
   19   page
   20   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE
   21   TRANSMISSION OR EMAIL (state method for each person or entity served): Pursuant to
        F.R.Civ.P. 5 and/or controlling LBR, on (date) May 10, 2023, I served the following persons
   22   and/or entities by personal delivery, overnight mail service, or (for those who consented in writing
        to such service method), by facsimile transmission and/or email as follows. Listing the judge here
   23   constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
        completed no later than 24 hours after the document is filed.
   24
   25         The Honorable Sandra R. Defendant, USBC, 255 E. Temple Street, Ctrm 1575, Los
               Angeles, CA 90012
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        I declare under penalty of perjury under the laws of the United States that the foregoing is true and
    3   correct.

    4    May 10, 2023           Susan C. Stein                           /s/Susan C. Stein
         Date                   Printed Name                             Signature
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        TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
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    2   Mailing Information for Case 2:23-bk-10990-SK
    3   Electronic Mail Notice List
    4   The following is the list of parties who are currently on the list to receive email notice/service for
        this case.
    5
              Reem J Bello rbello@goeforlaw.com, kmurphy@goeforlaw.com
    6         Michael Jay Berger michael.berger@bankruptcypower.com,
               yathida.nipha@bankruptcypower.com;michael.berger@ecf.inforuptcy.com
    7         Greg P Campbell ch11ecf@aldridgepite.com,
               gc@ecf.inforuptcy.com;gcampbell@aldridgepite.com
    8
              Theron S Covey tcovey@raslg.com, sferry@raslg.com
    9         Dane W Exnowski dane.exnowski@mccalla.com,
               bk.ca@mccalla.com,mccallaecf@ecf.courtdrive.com
   10         Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com
              Michael Jones michael.jones4@usdoj.gov
   11         Ron Maroko ron.maroko@usdoj.gov
              Joshua L Scheer jscheer@scheerlawgroup.com, jscheer@ecf.courtdrive.com
   12
              Mark M Sharf (TR) mark@sharflaw.com,
   13          C188@ecfcbis.com;sharf1000@gmail.com;2180473420@filings.docketbird.com
              Alan G Tippie Alan.Tippie@gmlaw.com,
   14          atippie@ecf.courtdrive.com;Karen.Files@gmlaw.com,patricia.dillamar@gmlaw.com,denis
               e.walker@gmlaw.com
   15         United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
   16         Michael L Wachtell mwachtell@buchalter.com
              John P. Ward jward@attleseystorm.com, ezhang@attleseystorm.com
   17         Clarisse Young youngshumaker@smcounsel.com, levern@smcounsel.com
              Paul P Young paul@cym.law, jaclyn@cym.law
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  B1040 (FORM 1040) (12/15)

          ADVERSARY PROCEEDING COVER SHEET                                                    ADVERSARY PROCEEDING NUMBER
                                                                                              (Court Use Only)
                  (Instructions on Reverse)

PLAINTIFFS                                                                     DEFENDANTS
  ERICA VAGO and JOSEPH VAGO,                                                   LESLIE KLEIN and DOES 1 through 10,


ATTORNEYS (Firm Name, Address, and Telephone No.)                              ATTORNEYS (If Known)
GOE FORSYTHE & HODGES LLP
17701 Cowan Avenue, Suite 210, Bldg. D, Irvine, CA 92614
Telephone: (949) 798-2460 / Facsimile: (949) 955-9437
PARTY (Check One Box Only)                         PARTY (Check One Box Only)
□ Debto      □ U.S. Trustee/Bankruptcy Admin       □ X Debtor    □ U.S. Trustee/Bankruptcy Admin
□ X Creditor □ Other                               □ Creditor    □ Other
□ Trustee                                          □ Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)

Complaint to Determine the Nondischargeability of Certain Debts Owed by Debtor Leslie Klein to Erica and Joseph Vago
Pursuant to 11 U.S.C. § 523 and to Deny Discharge Pursuant to Section 727(a)(12)


                                                                    NATURE OF SUIT

        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


□ 11-Recovery of money/property - §542 turnover of property                    □
    FRBP 7001(1) – Recovery of Money/Property                                  FRBP 7001(6) – Dischargeability (continued)

□ 12-Recovery of money/property - §547 preference                              □
                                                                                  61-Dischargeability - §523(a)(5), domestic support

□ 13-Recovery of money/property - §548 fraudulent transfer                     □
                                                                                  68-Dischargeability - §523(a)(6), willful and malicious injury

□ 14-Recovery of money/property - other                                        □
                                                                                  63-Dischargeability - §523(a)(8), student loan
                                                                                  64-Dischargeability - §523(a)(15), divorce or separation obligation

                                                                               □
                                                                                     (other than domestic support)

□ 21-Validity, priority or extent of lien or other interest in property
    FRBP 7001(2) – Validity, Priority or Extent of Lien                           65-Dischargeability - other


                                                                               □
                                                                               FRBP 7001(7) – Injunctive Relief

□
    FRBP 7001(3) – Approval of Sale of Property
                                                                               □
                                                                                  71-Injunctive relief – imposition of stay
    31-Approval of sale of property of estate and of a co-owner - §363(h)
                                                                                  72-Injunctive relief – other


□2 41-Objection / revocation of discharge - §727(c),(d),(e)
    FRBP 7001(4) – Objection/Revocation of Discharge
                                                                               □ 81-Subordination of claim or interest
                                                                               FRBP 7001(8) Subordination of Claim or Interest



□ 51-Revocation of confirmation
    FRBP 7001(5) – Revocation of Confirmation
                                                                               □ 91-Declaratory judgment
                                                                               FRBP 7001(9) Declaratory Judgment



□ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
    FRBP 7001(6) – Dischargeability
                                                                               □ 01-Determination of removed claim or cause
                                                                               FRBP 7001(10) Determination of Removed Action

□ 62-Dischargeability - §523(a)(2), false pretenses, false representation,
□1 67-Dischargeability                                                         □
        actual fraud                                                           Other

                                                                               □
                       - §523(a)(4), fraud as fiduciary, embezzlement,             SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
   larceny                                                                         02-Other (e.g. other actions that would have been brought in state court
                       (continued next column)
                                                                                      if unrelated to bankruptcy case)
□ Check if this case involves a substantive issue of state law                 □ Check if this is asserted to be a class action under FRCP 23
□ Check if a jury trial is demanded in complaint                               Demand $ 26,386,891.00
Other Relief Sought
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 B1040 (FORM 1040) (12/15)

              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                               BANKRUPTCY CASE NO.
                LESLIE KLEIN                   2:23-bk-10990-SK
DISTRICT IN WHICH CASE IS PENDING                                     DIVISION OFFICE                   NAME OF JUDGE
   CENTRAL                                                             LOS ANGELES                         SANDRA KLEIN
                                     RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                      DEFENDANT                                                ADVERSARY
                                                                                                        PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)


    /s/Robert P. Goe


DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)
  May 10, 2023                                                          Robert P. Goe



                                                         INSTRUCTIONS

           The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.
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                                   SummonsC Page Page461of
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 Attorney or Party Name, Address, Telephone & FAX                         FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 ROBERT P. GOE (State Bar No. 137019
 rgoe@goeforlaw.com
 REEM J. BELLO (State Bar No. 198840)
 rbello@goeforlaw.com
 GOE FORSYTHE & HODGES LLP
 17701 Cowan Avenue, Suite 210, Bldg. D
 Irvine, CA 92614
 Telephone: (949) 798-2460
 Facsimile: (949) 955-9437


 Attorney for Plaintiff

                                       UNITED STATES BANKRUPTCY COURT
                           CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION
                                                                             DIVISION

 In re:

 LESLIE KLEIN,                                                            CASE NO.: 2:23-bk-10990-SK
                                                                          CHAPTER:
                                                                          ADVERSARY NO.:

                                                          Debtor(s).
ERICA VAGO and JOSEPH VAGO,




                                                          Plaintiff(s)
                                                                             SUMMONS AND NOTICE OF STATUS
                               Versus                                     CONFERENCE IN ADVERSARY PROCEEDING
                                                                                      [LBR 7004-1]
 LESLIE KLEIN and DOES 1 through 10,




                                                      Defendant(s)
TO THE DEFENDANT: A Complaint has been filed by the Plaintiff against you. If you wish to defend against the
Complaint, you must file with the court a written pleading in response to the Complaint. You must also serve a copy of
your written response on the party shown in the upper left-hand corner of this page. The deadline to file and serve a
written response is                   . If you do not timely file and serve the response, the court may enter a judgment by
default against you for the relief demanded in the Complaint.

A status conference in the adversary proceeding commenced by the Complaint has been set for:

            Hearing Date:                                 Address:
            Time:                                            255 East Temple Street, Los Angeles, CA 90012
            Courtroom: 1575                                  3420 Twelfth Street, Riverside, CA 92501
                                                             411 West Fourth Street, Santa Ana, CA 92701
                                                             1415 State Street, Santa Barbara, CA 93101
                                                             21041 Burbank Boulevard, Woodland Hills, CA 91367

          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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You must comply with LBR 7016-1, which requires you to file a joint status report and to appear at a status
conference. All parties must read and comply with the rule, even if you are representing yourself. You must cooperate
with the other parties in the case and file a joint status report with the court and serve it on the appropriate parties at least
14 days before a status conference. A court-approved joint status report form is available on the court’s website (LBR
form F 7016-1.STATUS.REPORT) with an attachment for additional parties if necessary (LBR form F 7016-
1.STATUS.REPORT.ATTACH). If the other parties do not cooperate in filing a joint status report, you still must file with
the court a unilateral status report and the accompanying required declaration instead of a joint status report 7 days
before the status conference. The court may fine you or impose other sanctions if you do not file a status report.
The court may also fine you or impose other sanctions if you fail to appear at a status conference.


                                                                                KATHLEEN J. CAMPBELL
                                                                                CLERK OF COURT




Date of Issuance of Summons and Notice of Status Conference in Adversary Proceeding:




                                                                                By:
                                                                                             Deputy Clerk




          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
17701 Cowan Avenue, Suite 210, Bldg. D
Irvine, CA 92614
A true and correct copy (1) of the foregoing document entitled: SUMMONS AND NOTICE OF STATUS CONFERENCE
IN ADVERSARY PROCEEDING [LBR 7004-1] and (2) the accompanying pleading(s) entitled:
Complaint to Determine the Nondischargeability of Certain Debts Owed by Debtor Leslie Klein to Erica and Joseph Vago
_________________________________________________________________________________________________
Pursuant to 11 U.S.C. § 523 and to Deny Discharge Pursuant to Section 727(a)(12)
_________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 Date                         Printed Name                                                    Signature



          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                       Page 3                                   F 7004-1.SUMMONS.ADV.PROC
